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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

SECURITIES AND EXCHANGE                       No: 3:18-cv-252
COMMISSION,
                                              Carlton W. Reeves, District Judge
           Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

           Defendants.




                     RECEIVER’S THIRD FEE APPLICATION
      for the time period beginning October 1, 2018 and ending November 30, 2018

                                  December 30, 2018




                                               /s/ Alysson Mills
                                       Alysson Mills, Miss. Bar No. 102861
                                       Fishman Haygood, LLP
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                                       New Orleans, Louisiana 70170
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                                       Receiver for Arthur Lamar Adams and
                                       Madison Timber Properties, LLC
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Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I
shall receive reasonable compensation and reimbursement from the Receivership Estate.1 The
Court has instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day
period while the Receivership is in effect.”2

           This is my second fee application, for the 60-day period beginning October 1, 2018 and
ending November 30, 2018. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           I provided a copy of this fee application to counsel for the Securities and Exchange
Commission. Due to the government shutdown, they were unable to review it before filing.




1
    Doc. 33, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
2
    Doc. 43 at p. 2, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.)
(“Stanford”); U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-
3332 (D. Minn.) (“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark
et al., No. 1:11-cv-46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work
to-date, a statement of hours expended by professionals, a calculation of professional fees based
on applicable hourly rates, a statement of expenses incurred in the ordinary course of business,
and a declaration that all fees and expenses are accurate and reasonable. I provide the same basic
content here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk
disclosing the receiver’s legal strategies to defendants. For these reasons, I provide underlying
records of each professional’s time only to the Court.

         This, my third fee application, is for the 60-day period beginning October 1, 2018 and
ending November 30, 2018. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court ….” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


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        The Stanford receiver’s third fee application, filed in 2009, asked for a total of
$4,363,322 in fees for 92 days of work—not counting non-legal consulting fees.5 That fee
application was granted with a 35% holdback. Of course, at $7.2 billion, the Stanford Ponzi
scheme was considerably bigger than the Ponzi scheme in this case.

        The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley
receiver’s fifth and sixth fee applications, for February 2010 and March 2010, together asked for
$277,392 in fees for 59 days of work—also not counting non-legal consulting fees.6 Those fee
applications were paid in full.

        The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s third fee application, filed in 2012, asked for a total of
$190,019.55 in fees for 92 days of work.7 That fee application was paid in full.


Pre-established billing parameters

        The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

        The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10

        Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


5
  Doc. 820, Securities and Exchange Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D.
Tex.).
6
  Docs. 234 and 251, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D.
Minn.).
7
  Doc. 103, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
9
  Doc. 33 at p. 7-8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
10
   Doc. 33 at p. 8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Receivership Estate’s fees and expenses

        Fees

        The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the 60-day period beginning October 1, 2018 and ending November 30, 2018 are:

                                                               Rate       Hours                  Total
         Receiver’s fees
         Alysson Mills                                        $275       175.30           $48,207.50

         Receiver’s counsel’s fees
         Fishman Haygood, LLP                                *$325       136.00           $44,200.00
         Brent Barriere* et al.                               $275        83.90           $23,072.50
                                                              $220       143.40           $31,548.00
                                                              $150         0.40               $60.00
         Brown Bass & Jeter, PLLC                             $275       103.00          $28,325.00
         Lilli Bass et al.                                    $135         8.90           $1,201.50
                                                                                        $176,614.50


        These fees are for work described in my third Receiver’s Report, filed on December 21,
2018.13 To summarize, during the 60-day period beginning October 1, 2018 and ending
November 30, 2018, my colleagues and I: filed an amended complaint against Wayne Kelly,
Michael Billings, and Bill McHenry to recover “commissions” they received from Madison
Timber, see Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679; announced a
settlement with Kelly representing a value of approximately $2,000,000 to the Receivership
Estate; filed a motion for summary judgment against Billings and McHenry; filed a motion for
contempt against Alexander Seawright Timber Fund I, LLC, Brent Alexander, and Jon
Seawright following their pursuit and settlement of claims against UPS in violation of this
Court’s stay of litigation; announced a settlement with Frank Zito by which he will return
$200,000 of the $222,750 in “commissions” he received from Madison Timber; negotiated the
return of cash gifts from Adams’s family and the University of Mississippi’s Ole Miss Athletic

11
   Doc. 33 at p. 14, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
12
   Doc. 33 at p. 14-15, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
13
   Doc. 70, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Foundation; continued to account for “commissions”; continued to review records of banks, law
firms, and other third parties that had professional relationships with Adams or Madison Timber;
continued to work with LLCs of which Adams was a member, including KAPA Breeze, LLC
and Oxford Springs, LLC; facilitated the sale of Delta Farm Land Investments, LLC’s principal
asset; obtained title to Adams’s remaining assets pre-sentencing; negotiated the disposition of
certain assets of which Adams’s wife has an interest; attended Adams’s sentencing; continued to
confer with the U.S. Attorney’s Office for the Southern District of Mississippi, the FBI, the
Securities and Exchange Commission, and the Mississippi Secretary of State’s Office; continued
to communicate with investors in Madison Timber via phone, letter, email, and in-person
meetings; continued to interview individuals with first-hand knowledge of matters bearing on the
Receivership Estate, including Adams; and continued to research legal claims against third
parties as new facts are discovered. Time records for the 60-day period beginning October 1,
2018 and ending November 30, 2018 shall be separately provided to the Court for in camera
review.

          Of the hours recorded for the 60-day time period beginning October 1, 2018 and ending
November 30, 2018, 330.5 hours, or $89,103.50, were spent on the lawsuit Alysson Mills vs.
Michael D. Billings, et al., No. 3:18-cv-679. Including hours previously recorded, my colleagues
and I have spent a total of 478.70 hours on the lawsuit since it was filed, at a total expense of
$121,178. I believe this time and expense is worthwhile, particularly given we have already
obtained a settlement with Kelly representing a value of approximately $2,000,000 to the
Receivership Estate.

          My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative; our
time records show hours worked for which we have charged no fee. We have not charged for
travel. Our agreed-upon rates generally are lower than market rates.




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       Expenses

       The Receivership Estate’s expenses for the 60-day period beginning October 1, 2018 and
ending November 30, 2018 are:

                      Copier charges                                 $00.50
                      Printer charges                             $1,140.80
                      Express mail services                         $171.51
                      Long distance calls                           $973.54
                      Court filing fees                             $200.00
                      Westlaw research                            $2,516.65
                      Postage                                       $653.93
                      Appraisal fee                               $3,000.00
                      AEA Group                                   $3,207.50
                      Travel                                        $830.29
                                                                $10,690.89


       Most of these expenses are self-explanatory and are the kinds of expenses typically
incurred in any legal matter. I have not charged for long distance calls, court filing fees for pro
hac vice admissions, or travel. The appraisal fee is for an appraisal I requested of property owned
by one of Adams’s LLCs.

       Note that the above costs include costs for a forensic accounting of “commissions.” As I
noted in my last fee application, a receiver typically undertakes a forensic accounting—at
considerable but usually necessary expense—before filing a lawsuit. But the nature of the
Madison Timber Ponzi scheme has made it a relatively straightforward task to confirm
“commissions” using Quickbooks and bank statements. We did a preliminary forensic
accounting ourselves, to save money. But we did retain a forensic accounting firm, AEA Group,
to assist with our analysis, and its principal, Les Alexander, provided an affidavit in support of
the motion for preliminary injunction we filed in Alysson Mills vs. Michael D. Billings, et al.,
No. 3:18-cv-679.




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Conclusion

           Currently the Receivership Estate has $2,401,236.20 in the bank—still a healthy sum at
this point but far from enough to make a meaningful distribution. As I advised in my third
Receiver’s Report, filed December 21, 2018,14 I expect to receive proceeds from the Kelly
settlement in the next 20 days. Settlements with the University of Mississippi’s Ole Miss
Athletic Foundation and Adams’s family are forthcoming.

           As I have stated, the Receivership Estate’s most valuable assets may be the lawsuits it has
filed and intends to file. I anticipate that the next few months will require substantial work by
counsel, and possibly experts, as we litigate against third parties. As always I will monitor all
work for inefficiencies and unnecessary expense.

           In the interest of preserving the Receivership Estate’s limited resources, my primary
counsel, Brent Barriere and Fishman Haygood, LLP, has agreed to represent the Receivership
Estate in certain third-party litigation on a contingency fee, or success-based, arrangement. The
terms shall be separately provided to the Court. Of course any fee arrangement is subject to the
continuing oversight of the Court—and any fees paid by the Receivership Estate, whether on an
hourly basis or as a contingency fee, are subject to the Court’s review and approval at an
appropriate time.

           In the meantime, I continue to believe our team is providing very good value for cost—
particularly when viewed in the context of other receiverships, which at this point cost many
multiples more per day.




14
     Doc. 70, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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